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11
                              IN THE UNITED STATES DISTRICT COURT
12
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
13
                                       SAN FRANCISCO DIVISION
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17   STATE OF CALIFORNIA, by and through                   3:18-cv-01865
     Attorney General Xavier Becerra;
18   COUNTY OF LOS ANGELES; CITY OF
     LOS ANGELES; CITY OF FREMONT;
19   CITY OF LONG BEACH; CITY OF                           PLAINTIFFS’ OPPOSITION TO
     OAKLAND; CITY OF STOCKTON,                            DEFENDANTS’ MOTION FOR
20                                                         SUMMARY JUDGMENT
                                            Plaintiffs,
21                                                         Date:         December 7, 2018
                    v.                                     Time:         10:00 a.m.
22                                                         Dept:         3
                                                           Judge:        The Honorable Richard G.
23   WILBUR L. ROSS, JR., in his official                                Seeborg
     capacity as Secretary of the U.S.                     Trial Date:   January 7, 2019
24   Department of Commerce; U.S.                          Action Filed: March 26, 2018
     DEPARTMENT OF COMMERCE; RON
25   JARMIN, in his official capacity as Acting
     Director of the U.S. Census Bureau; U.S.
26   CENSUS BUREAU; DOES 1-100,

27                                        Defendants.

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 1                                            INTRODUCTION

 2         The last six decennial census questionnaires sent to every household in the country have not

 3   asked about citizenship. And for good reason. The Census Bureau (Bureau) has long opposed

 4   adding a citizenship question because its own studies show that doing so would deter

 5   participation in and undermine the accuracy of the decennial census.

 6         Ignoring this precedent, Secretary of Commerce Wilbur Ross announced this March his

 7   eleventh-hour decision to add a citizenship question to the 2020 Census. His decision was made

 8   despite (1) the Bureau’s recommendation that he not include the citizenship question,

 9   (2) quantitative and qualitative evidence that the question will significantly depress census

10   response rates and yield inaccurate citizenship data, and (3) the Bureau’s failure to pretest the

11   question in violation of governing regulations and established Bureau policies. Plaintiffs 1—all

12   which have a disproportionate share of the nation’s non-citizen residents—are already expending

13   substantial funds to mitigate the harm caused by the citizenship question, face considerable losses

14   in federal funding, and are likely to lose their fair share of representation in Congress.

15         Each of Defendants’ three arguments for summary judgment is unavailing. First,

16   Defendants argue that Plaintiffs lack standing because their injuries are purportedly too

17   speculative and not fairly traceable to Secretary Ross’s decision. Defendants’ standing

18   argument—based on nothing more than factual disputes—disregards the harm Plaintiffs have

19   suffered and will suffer. Second, Defendants argue that Plaintiffs cannot prevail on their

20   Enumeration Clause claim because the Secretary intends to conduct a person-by-person

21   enumeration. But the Court has rejected this argument and should do so again, particularly

22   because Defendants’ motion fails to address evidence that the citizenship question will impact

23   congressional apportionment. Third, Defendants argue that the Secretary’s decision to add a

24   citizenship question did not violate the Administrative Procedure Act (APA) because it was

25   reasonable. Not so. The record shows that Secretary Ross’s decision was, in every respect,

26   arbitrary and capricious and contrary to law.

27          1
               Plaintiffs are the State of California, County of Los Angeles, and Cities of Los Angeles,
     Fremont, Long Beach, Oakland and Stockton, as well as intervenor Los Angeles Unified School
28   District (LAUSD).
                                                         1
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 1           Defendants’ motion should be denied in its entirety, and this action should proceed to trial.

 2                                              BACKGROUND

 3   I.      LEGAL AND HISTORICAL BACKGROUND OF THE CENSUS
 4           The U.S. Constitution requires an “actual Enumeration” of the population every ten years

 5   by counting “the whole number of persons in each State,” without regard to citizenship status.

 6   U.S. Const. art. I, § 2, cl. 3 & amend. XIV. There has been no citizenship question on the

 7   decennial census since 1950. AR 1314; Decl. Handley 7; see also Abowd Dep. (Aug. 29, 2018),

 8   Ex. 3 [1950 Census Questionnaire]. The sole constitutional purpose of the census is

 9   congressional apportionment. Pub. L. No. 105-119, § 209(a)(2); U.S. Const. art. I, § 2, cl. 3. In

10   addition to this purpose, the federal government relies on census data to distribute hundreds of

11   billions of dollars of funding each year. Decl. Reamer 4.

12           Under the Census Act, Congress delegated its constitutional duty to conduct the census to

13   the Secretary of Commerce and the Bureau, a federal statistical agency within the Department of

14   Commerce. 13 U.S.C. §§ 2, 4, 141(a). Congress has placed fundamental limits on the

15   Secretary’s discretion, declaring it “essential” to obtain a population count that is “as accurate as

16   possible, consistent with the Constitution and laws of the United States,” and subordinating the

17   Secretary’s authority to collect other information to this paramount goal. Pub. L. No. 105-119

18   (codified at 13 U.S.C. § 141 note).

19           Although Congress has delegated to the Secretary its constitutional duty to conduct the

20   census, the Secretary does not have unfettered discretion in carrying out that duty. Wisconsin v.

21   City of New York, 517 U.S. 1 (1996). The Secretary’s actions must bear “a reasonable

22   relationship to the accomplishment of an actual enumeration of the population, keeping in mind

23   the constitutional purpose of the census,” which is “to determine the apportionment of the

24   Representatives among the states.” Id. at 19-20.

25
     II.     SECRETARY ROSS’S DECISION TO ADD THE CITIZENSHIP QUESTION TO THE 2020
26           CENSUS

27           In March 2017, the Bureau submitted to Congress a report listing five subjects for the 2020

28   Census: age, gender, race/ethnicity, relationship, and homeowner status. AR 204–213; see 13
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 1   U.S.C. § 141(f)(1) (requiring the Secretary to submit a report identifying the “subjects proposed

 2   to be included, and the types of information to be compiled” in the 2020 Census by March 2017).

 3   The report informed Congress that citizenship would be among the topics included on the

 4   American Community Survey (ACS), but not on the decennial census. AR 214–267.

 5         The Secretary began considering whether to add a citizenship question to the decennial

 6   questionnaire “[s]oon after [his] appointment as Secretary of Commerce.” AR 1321; Comstock

 7   Dep. 54:16-55:4. On April 5, 2017, Chief White House Strategist Steve Bannon asked to speak

 8   with the Secretary about the census. AR 2561. Around the same time, “at the direction of Steve

 9   Bannon,” the Secretary spoke with Kris Kobach, vice chair of the Presidential Advisory

10   Commission on Election Integrity, about the citizenship question—and, specifically, Kobach’s

11   view (contrary to law, see Evenwel v. Abbott, 136 S. Ct. 1120, 1129, 1132 (2016)) that it was a

12   “problem” that undocumented persons were included in the census count for apportionment

13   purposes. 2 AR 763–764. Rather than seek the advice of Bureau staff, the Secretary enlisted Earl

14   Comstock, director of the Commerce Department’s Office of Policy and Strategic Planning, along

15   with Commerce Department legal counsel, to determine whether non-citizens are included in the

16   census count and how to add a citizenship question to the 2020 Census questionnaire. AR 2521,

17   3705, 3710; Comstock Dep. 63:18-21.

18         The Secretary grew impatient with the lack of progress, urging Comstock in early April

19   2017 that “we must get our [Census] issue resolved” by month’s end, AR 3694 (emphasis in

20   original), and complaining on May 2, 2017, that “nothing have [sic] been done in response to my

21   months[’] old request that we include the citizenship question.” AR 3710. Comstock responded

22   that, to move forward, “we need to work with [the Department of] Justice to get them to request

23   that citizenship be added” and “to illustrate that DoJ has a legitimate need for the question.” Id.

24   Both Secretary Ross and Comstock acknowledged that they would need to be “very careful” to

25   prepare an administrative record that presented the decision in a defensible light. AR 12476.

26

27          2
             On July 14, 2017, Kobach followed up with an email to the Secretary containing
     proposed language for a citizenship question to be added to the Census. AR 764.
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 1         Comstock contacted the White House, which referred him to a DOJ aide. AR 12756, 2462,

 2   3701. The aide directed Comstock to another member of DOJ’s staff, who suggested that

 3   Comstock engage the Department of Homeland Security (DHS) instead. 3 AR 12756. DHS also

 4   declined to pursue the citizenship question. After Comstock came up short, the Secretary

 5   determined that he would “call the AG” directly. AR 12476, 2652.

 6         Six months after he began contemplating a citizenship question, and four months after

 7   Comstock set out to find a sponsoring agency, Secretary Ross finally found his audience in

 8   Attorney General Jeff Sessions. One of Attorney General Sessions’s senior advisors quickly

 9   confirmed that “it sounds like we can do whatever you all need us to do” and “[t]he AG is eager

10   to assist.” AR 2651. Indeed, several months later, in an undated letter received by the Bureau on

11   December 12, 2017, DOJ issued a “formal[] request[]” for the addition of a citizenship question

12   on the 2020 Census questionnaire. AR 663–665. The letter—signed not by an attorney from the

13   Voting Section of the Civil Rights Division, but by Arthur Gary, General Counsel of the Justice

14   Management Division—stated that block-level citizenship data “is critical to the Department’s

15   enforcement of Section 2 of the Voting Rights Act” and that “the decennial census questionnaire

16   is the most appropriate vehicle for collecting that data.” 4 AR 663.

17         Following receipt of Gary’s letter, Karen Dunn Kelley, Under Secretary of Economic

18   Affairs at the Department of Commerce, contacted senior data scientists at the Bureau, led by

19   John Abowd, the Bureau’s Chief Scientist and Defendants’ expert in this action, to conduct a

20   technical review of whether to add a citizenship question. Kelley Dep. 99:11–101:22.

21   Dr. Abowd was not aware of the potential citizenship question before the Gary letter. AR 3354;

22   Abowd Dep. (Aug. 15, 2018) 12:19–13:1. Abowd’s team performed a technical review of three

23   options to address DOJ’s stated need for block-level citizenship data: Alternative A, which

24   would make no changes in the Bureau’s data collection practices (i.e., requiring DOJ to rely on

25   existing sources of citizenship data, such as the ACS, for Voting Rights Act (VRA) enforcement

26          3
              DOJ had already reported the potential changes it would like to see on the ACS
     Questionnaire for the 2020 Census; the changes did not involve a citizenship question. AR 311.
27          4
              In his deposition, Acting Assistant Attorney General John Gore disagreed with this
     conclusion and admitted not knowing whether census-based citizenship data would be more
28   accurate than ACS data. Gore Dep. 226:1–228:20; 422:11–17.
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 1   purposes); Alternative B, which would add a citizenship question to the decennial questionnaire;

 2   and Alternative C, which would obtain citizenship data for as much of the 2020 Census

 3   population as possible by using data from administrative records. AR 1277.

 4         On December 22, 2017, Ron Jarmin, the Bureau’s acting director, relayed to Gary the

 5   Bureau’s preliminary findings that Alternative C (using administrative records) “would result in

 6   higher quality data produced at lower cost” and proposed “a meeting of Census and DOJ

 7   technical experts to discuss the details of this proposal.” AR 5491. Gary shared the Bureau’s

 8   suggestion of an alternative proposal with Gore, who did not inquire further about the proposal.

 9   Gore Dep. 267:10-268:11. Ultimately, at the direction of the Attorney General, DOJ refused to

10   meet or otherwise engage with the Bureau about alternatives, explaining that Gary’s “letter

11   requesting citizenship be added to the 2020 Census fully describes their request.” AR 3460; Gore

12   Dep. 271:21-272:16.

13         In a memorandum dated January 19, 2018, Abowd and his team detailed their review. The

14   memorandum, circulated in draft form, concluded that Alternative B “is very costly, harms the

15   quality of the census count, and would use substantially less accurate citizenship status data than

16   are available from administrative sources,” and recommended either Alternatives A or C instead.

17   AR 1312. These conclusions were supported by a comprehensive analysis, including the

18   anticipated impact of each alternative on response rates, data quality, and cost, and by responses

19   to a set of 35 written questions from Commerce officials. AR 1279–1297.

20         Undeterred by the Bureau’s findings, Secretary Ross asked Abowd’s team to consider a

21   new proposal, Alternative D—a hybrid of Alternatives B and C intended to use the citizenship

22   question to supplement gaps in administrative record data. AR 1308. In a memorandum dated

23   March 1, 2018, most of which is spent analyzing “the weaknesses in Alternative C,” Abowd

24   ultimately concluded that “Alternative D would result in poorer quality citizenship data than

25   Alternative C” because “[i]t would still have all the negative cost and quality implications of

26   Alternative B outlined in the draft January 19, 2018 memorandum to the Department of

27   Commerce.” AR 1312. Alternative D “would raise questions about why 100 percent of

28   respondents are being burdened by a citizenship question to obtain information for the two
                                                    5
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 1   percent of respondents where it is missing.” Id. And it would not only “lead to more incorrect

 2   enumerations,” but would likely “increase the number of persons who cannot be linked to the

 3   administrative data because the [data obtained through follow-up procedures] is lower quality

 4   than the self-response data.” AR 1311.

 5         Given the firm opposition of Bureau experts to adding a citizenship question, Secretary

 6   Ross and his staff began contacting external stakeholders to solicit support. Yet finding

 7   stakeholders who could “give a professional expression of support for the proposal in contrast to

 8   the many folks . . . against the proposal” proved challenging. AR 4853. Indeed, six former

 9   Bureau directors wrote to Secretary Ross to oppose the citizenship question and warned that

10   adding the question without first subjecting it to the Bureau’s well-established pretesting

11   standards and requirements “would put the accuracy of the enumeration and success of the census

12   in all communities at grave risk.” AR 1057-58.

13         On March 26, 2018, Secretary Ross issued a memorandum announcing his decision to add a

14   citizenship question to the 2020 Census and directing Kelley to communicate this decision to

15   Bureau staff and Congress before March 31, 2018. AR 1313-1320. Although the decisional

16   memorandum is written as if in direct response to DOJ’s request, AR 1313, Secretary Ross

17   acknowledged in a supplemental memorandum—submitted on June 21, 2018, months after this

18   action was filed—that the citizenship question originated from “senior Administration officials,”

19   not DOJ, and that he had deliberated with other “Federal Government components” before

20   soliciting DOJ’s involvement. AR 1321.

21   III. THE ADMINISTRATIVE RECORD AND EXTRA-RECORD DISCOVERY IN THIS ACTION
22         Defendants filed the initial administrative record in this action on June 8, 2018, and

23   supplemented it on June 21, 2018. ECF Nos. 23, 33. In response to the court’s order in the

24   related census case, State of New York v. U.S. Dept. of Commerce, Case No. 1:18-cv-02921

25   (S.D.N.Y.) (New York action), Defendants further supplemented the administrative record by

26   producing documents on July 23 and 27, and August 3, 2018. 5 Defendants have agreed that the

27          5
              The documents produced on these dates as part of the supplemental record were not filed
     with this court. Defendants filed a notice in the New York action with a link to a zip file where
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 1   administrative record consists of not only the initial record that Defendants filed but also these

 2   and other additional documents specified in stipulations reached in the New York action. Decl.

 3   Wise ¶ 2 & Exs. 1, 2, 3.

 4           On August 20, 2018, this Court issued an order permitting Plaintiffs to take discovery

 5   consistent with the discovery order in the New York action. ECF No. 76. Thereafter, Defendants

 6   and the U.S. Department of Justice produced documents, Plaintiffs deposed Defendant-affiliated

 7   witnesses, and both sides deposed each other’s expert witnesses.

 8                                           LEGAL STANDARD

 9          A party moving for summary judgment “has both the initial burden of production and the

10   ultimate burden of persuasion” on the motion. Nissan Fire & Marine Ins. Co. v. Fritz Cos., Inc.,

11   210 F.3d 1099, 1102 (9th Cir. 2000). “In order to carry its burden of production, the moving

12   party must either produce evidence negating an essential element of the nonmoving party’s claim

13   or defense or show that the nonmoving party does not have enough evidence of an essential

14   element to carry its ultimate burden of persuasion at trial.” Id. To carry its ultimate burden of

15   persuasion on the motion, the moving party must persuade the court that there is no genuine issue

16   of material fact.” This is a “heavy burden.” Ambat v. City and County of S.F., 757 F.3d 1017

17   (9th Cir. 2014).

18                                                ARGUMENT

19   I.     DEFENDANT’S MOTION FOR SUMMARY JUDGMENT FAILS BASED ON BOTH THE
            ADMINISTRATIVE RECORD ALONE AND THE FULL EVIDENTIARY RECORD
20

21          Extra-record evidence is admissible in this case because every exception to limited record-

22   review applies: the decision-maker acted in bad faith, extra-record evidence is necessary to

23   determine whether agencies considered all factors, the agencies relied on documents not in the

24   record, and the case involves technical and complex subject matter. See Ranchers Cattlemen

25   Action Legal Fund United Stockgrowers of Am. v. U.S. Dep’t of Agric., 499 F.3d 1108, 1117 (9th

26   Cir. 2007). Defendants suggest that this Court should not consider evidence outside the

27   the documents were available for download. New York action, ECF No. 67. For the Court’s ease
     of reference, Plaintiffs submit with this opposition all documents they cite from the administrative
28   record.
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 1   administrative record, with the exception of evidence related to Plaintiffs’ standing. Defs’ Mot.

 2   Summ. J. 19-20. But the Court need not resolve that issue to decide this motion for summary

 3   judgment, because the motion can be denied on either the administrative record alone or the full

 4   evidentiary record. Plaintiffs cite both the administrative record and extra-record evidence in this

 5   opposition.

 6   II.   PLAINTIFFS HAVE STANDING TO BRING THIS ACTION
 7         For standing, a plaintiff must have “(1) suffered an injury in fact, (2) that is fairly traceable

 8   to the challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable

 9   judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). Each of these elements

10   is present in this case. Plaintiffs will suffer injuries—a decline in federal funding, costs incurred

11   from additional census outreach efforts, and one or more lost congressional seats—because of the

12   differential undercount that is traceable to the inclusion of a citizenship question on the 2020

13   Census. Removing the citizenship question from the 2020 Census will avert these injuries.

14         A.      The Citizenship Question Will Cause a Differential Undercount in
                   Plaintiffs’ Jurisdictions
15

16         Adding a citizenship question to the 2020 Census will injure Plaintiffs by causing an

17   undercount of their residents. The Bureau acknowledges that certain populations that the Bureau

18   describes as “hard-to-count,” including non-citizens, immigrants, and Hispanics, will be more

19   likely than other populations to refuse to respond to the Census because they do not trust the

20   federal government with their citizenship information. AR 10386DRB-10393DRB, 13026. For

21   this reason, the Bureau’s Non-Response Follow-Up (NRFU) efforts—that is, the Bureau’s efforts

22   to determine the status and number of residents from households that did not respond to the

23   census questionnaire—will also be largely ineffective at counting these populations. Decl.

24   O’Muircheartaigh 11-12; Decl. Barreto ¶¶ 45-61. Because California has more residents in these

25   subpopulations than any other state, the undercount caused by the citizenship question will be

26   greatest in California—or in other words, “differential.” Decl. Barreto ¶¶ 17, 110-112, 125; Decl.

27   Fraga 19.

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 1               1.     Because of the citizenship question, Plaintiffs’ residents will respond
                        to the 2020 Census at a lower rate than other populations
 2

 3         The addition of the citizenship question will cause fewer people to respond to the 2020

 4   Census. AR 1311; COM_DIS00009886; Abowd Dep. (Aug. 29, 2018) 242-243. Plaintiff’s

 5   expert Dr. Matthew Barreto, Ph.D. estimates based on empirical survey evidence that between 7.1

 6   and 9.7 percent of the nationwide population will not respond to the census as a result of the

 7   citizenship question. Decl. Barreto ¶ 19. In California, the drop-off is estimated to be the worst

 8   of any state in the nation—between 12.3 and 18 percent of the population. Id. at ¶ 20.

 9   Extrapolating for household-sizes and state-by-state demographics, 12.51 percent of Californians

10   would not be reported, also the highest in the nation. Decl. Fraga 17, 18.

11         Defendants do not deny in their motion that the citizenship question will cause fewer people

12   to respond to the 2020 Census. Defs.’ Mot. Summ. J. 8-9, 12-13. They cannot do so, because the

13   Bureau’s own studies reach the same conclusion. AR 1277, 11639-11640; COM_DIS00009834

14   (“The evidence in this paper also suggests that adding a citizenship question to the 2020 census

15   would lead to lower self-response rates in households potentially containing non-citizens ….”);

16   Abowd Dep. (Oct. 5, 2018) 358:12-17. The Bureau estimates that, just among households with at

17   least one non-citizen, there will be a 5.8 percent decline in self-response relative to all-citizen

18   households. COM_DIS00009871. The Bureau characterizes this most recent estimate as

19   “conservative” because “the level of [census respondents’] concern about using citizenship data

20   for enforcement purposes may be very different in 2020” than in previous census years. Id.

21         In short, the parties agree that the citizenship question will cause a decrease in responses to

22   the 2020 Census, and that effect will be greater in California than in any other state.

23               2.     The differential undercount will remain following the Bureau’s
                        “combined enumeration” efforts
24

25         The Bureau’s follow-up enumeration efforts will be insufficient to prevent a differential

26   undercount of Plaintiffs’ residents. Such efforts have a limited track record of success and will be

27   hampered by the initial differential non-response caused by the citizenship question.

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 1         There has been a differential undercount of hard-to-count subpopulations—in particular, the

 2   Hispanic population, the immigrant population, and non-citizens in general—in all recent

 3   censuses. AR 1286. All available evidence indicates that this trend will continue, particularly for

 4   members of these populations who choose not to respond to the 2020 Census because of the

 5   citizenship question. The Bureau admits that, in 2020, the NRFU efforts of census enumerators

 6   will likely be less successful for hard-to-count populations than for other populations. Abowd

 7   Dep. (Oct. 12, 2018) 263:20-264:5. Given the sensitivity of the citizenship question, those

 8   refusing to initially self-respond because of the question are particularly unlikely to respond to

 9   follow-up contacts. Abowd Dep. (Oct. 12, 2018) 255:16-256:6; COM_DIS00009874 at 42 n.59

10   (“If a household declines to self-respond due to the citizenship question, we suspect it would also

11   refuse to cooperate with an enumerator coming to their door, resulting in a need to use a proxy”);

12   Decl. O’Muircheartaigh 5, 13; Decl. Barreto ¶¶ 12-15. As with the initial non-response, the

13   failure of the NRFU efforts of census enumerators reflects the lack of trust among these

14   subpopulations that the federal government will protect the confidentiality of their responses.

15   Decl. O’Muircheartaigh 2; Decl. Barreto ¶¶ 25-26.

16         Following enumerator NRFU, the Bureau’s “final attempt” procedures of imputation

17   through administrative records and proxy enumeration (information provided by a willing

18   respondent, such as a neighbor or landlord) will also fail to fully mitigate the undercount resulting

19   from the citizenship question. 6 The Bureau acknowledges that, for hard-to-count populations,

20   there are gaps in the administrative data used for enumeration. Abowd Dep. (Oct. 12, 2018)

21   255:2-8. Non-citizens, for example, are among the groups for which administrative records are

22   least likely to exist. Decl. O’Muircheartaigh 14-15 (citing AR 1310-1311). And given the

23   perceived threat from the citizenship question, willing and knowledgeable proxy respondents will

24

25
            6
26           Although Defendants do not identify the statistical method of count imputation as a
     “combined enumeration” strategy, that approach would also be insufficient to mitigate the non-
27   response because of differences between responding households and non-responding households.
     Decl. O’Muircheartaigh 16; Decl. Barreto ¶¶ 39-40, 51-52; see also Abowd Dep. (Oct. 12, 2018)
28   109:3-22.
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 1   likely be more difficult to find in neighborhoods where a substantial proportion of households

 2   contain a non-citizen. Decl. O’Muircheartaigh 16; Abowd Dep. (Oct. 12, 2018) 255:16-256:13.

 3         Because the Bureau’s NRFU efforts will not fully remediate the large initial non-response

 4   caused by the citizenship question, the differential undercount of Californians will remain.

 5         B.    The Differential Undercount Resulting from the Citizenship Question Will
                 Injure Plaintiffs
 6

 7         An undercount resulting from the citizenship question will imminently and concretely

 8   injure Plaintiffs, even if the undercount is slight. Defendants have submitted no admissible

 9   evidence that addresses the size or effects of an undercount that will result from the citizenship

10   question. Their expert, Dr. Stuart Gurrea, an economist, admits that he has no expertise in NRFU

11   or knowledge of how successful the Bureau’s NRFU will be in 2020. Gurrea Dep. 32:15-18,

12   103:23-104:4. Dr. Gurrea’s “opinions” are based entirely on assumptions about NRFU success

13   that Defendants provided to him, and for which Defendants have submitted no basis in fact or

14   expert opinion. Gurrea Report ¶ 54; Gurrea Dep. 121:9-122:1.

15         Indeed, Plaintiffs will experience at least three types of injury as a result of the citizenship

16   question. First, Plaintiffs will lose federal funds as a result of the undercount. If a differential

17   undercount occurs, no matter the size of the undercount, California will lose funds from

18   numerous federal programs, including: Title I grants to education agencies; Women, Infants, and

19   Children (WIC) grants; and social service block grants. Decl. Reamer 5, 26-28. Defendants

20   appear to concede this point, and dispute only whether such losses are “material.” Yet no

21   “materiality” requirement exists for standing based on financial loss. “For standing purposes, a

22   loss of even a small amount of money is ordinarily an injury.” Czyzewski v. Jevic Holding Corp.,

23   137 S. Ct. 973, 983 (2017); Carpenters Indus. Council v. Zinke, 854 F.3d 1, 5 (D.C. Cir. 2017)

24   (“A dollar of economic harm is still an injury-in-fact for standing purposes.”). California is likely

25   to lose millions of dollars, but even if California were to experience a decline in federal funding

26   of only .01 percent, as Defendants’ expert suggests in one scenario, the State would still lose

27   more than $200,000 in Title I funding, alone. Gurrea Report 28; see also id. at 29-30.

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 1         Second, in an attempt to mitigate the undercount caused by the citizenship question,

 2   California has appropriated and begun spending $90.3 million, largely for community outreach.

 3   Request for Judicial Notice (RJN) Exs. B at CAL000147; C at CAL000152-154; D at

 4   CAL000162, CAL000230; E at CAL000235-253; F at CAL000269-273, CAL000278-279,

 5   CAL000292-294; I at CAL000411; J at CAL000443-444; K at CAL000540; L at CAL000717

 6   (detailing the Legislature’s additional appropriations to California’s Complete Count efforts

 7   because of the citizenship question). California’s budget for the 2020 Census swelled because of

 8   the addition of the citizenship question. See, e.g., RJN Exs. A at CAL000001-5; G at

 9   CAL000322-323; H at CAL000364-369.

10         Third, California is likely to lose at least one congressional seat as a result of the citizenship

11   question. Decl. Fraga 3-4, 17-18, 21-28; see also Decl. Barreto ¶¶ 20, 110-140. The empirical

12   survey evidence estimates that between 12.3 and 18 percent of Californians will refuse to respond

13   to the Census. Decl. Barreto ¶ 20. Based on that data and the national non-response rates,

14   California may lose as many as three congressional seats, if the Bureau’s NRFU efforts are

15   unsuccessful. Decl. Fraga 10-13, 21-23; see also id. at 56-58.

16         California’s county and city co-plaintiffs, as well as LAUSD, will also suffer these harms.

17   Take the County of Los Angeles, which, after receiving additional funds from the State of

18   California, will still need to spend more than $2.6 million of its own funds on community

19   outreach as result of the citizenship question. Decl. Baron ¶¶ 4-9; RJN No 1. Or LAUSD, which

20   stands to lose its fair share of Title I grants distributed by the State. Decl. Reamer 16. Any of

21   these injuries confers standing upon all of the Plaintiffs, because “once the court determines that

22   one of the plaintiffs has standing, it need not decide the standing of the others.” Leonard v.

23   Clark, 12 F.3d 885, 888 (9th Cir. 1993) (citing Carey v. Population Servs. Int’l, 431 U.S. 678,

24   682 (1977)); Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645 (2017).

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 1         C.    Plaintiffs’ Injuries Are Traceable to the Citizenship Question and
                 Redressable by Its Removal
 2

 3         As this Court held in its Order denying Defendants’ Motion to Dismiss, Plaintiffs’ injuries

 4   are traceable to the citizenship question and redressable by its removal from the 2020 Census

 5   questionnaire. Defendants offer no new arguments nor any evidence on these issues.

 6         “Causation may be found even if there are multiple links in the chain connecting the

 7   defendant’s unlawful conduct to the plaintiff’s injury, and there’s no requirement that the

 8   defendant’s conduct comprise the last link in the chain.” Mendina v. Garcia, 768 F.3d 1009,

 9   1012 (9th Cir. 2014) (citing Bennett v. Spear, 520 U.S. 154, 168-69 (1997)). The key question is

10   whether the “government’s unlawful conduct is at least a substantial factor motivating the third

11   parties’ actions.” Id. at 1013 (internal citations and quotations omitted).

12         Here, the evidence shows that the citizenship question will directly cause some people not

13   to respond at all to the 2020 Census. Decl. Barreto ¶¶ 17-20. The differential undercount that

14   results will harm Plaintiffs. Defendants’ act of adding the question to the census is a “substantial

15   factor” in such harm, which would be redressed by removing the question.

16   III. DEFENDANTS VIOLATED THE ENUMERATION CLAUSE AND ARE NOT ENTITLED TO
          SUMMARY JUDGMENT ON THAT CLAIM
17

18         The Enumeration Clause of the Constitution requires Secretary Ross’s actions to bear “a

19   reasonable relationship to the accomplishment of an actual enumeration of the population,

20   keeping in mind the constitutional purpose of the census,” which is “to determine the

21   apportionment of the Representatives among the states.” Wisconsin, 517 U.S. at 19-20. The

22   addition of the citizenship question was unreasonable under Wisconsin because the Secretary’s

23   decision “affirmatively interferes with the actual enumeration” by causing an undercount, and that

24   effect is not counterbalanced by a reasonable governmental purpose. ECF No. 75 at 29.

25         Defendants first contend that the Wisconsin standard does not apply here, asserting that the

26   Enumeration Clause only requires Secretary Ross to conduct a “person-by-person headcount”

27   rather than conduct the census through estimate or conjecture. Defs.’ Mot. Summ. J. 15. No

28   legal authority supports this argument, and this Court correctly rejected it in its Order Denying
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 1   Motion to Dismiss. ECF No. 75 at 28-29. As this Court reasoned, Defendants’ interpretation of

 2   the clause is overbroad, because it would mean that the Secretary’s exercise of discretion related

 3   to the census questionnaire would never be subject to judicial scrutiny, despite the “strong

 4   constitutional interest in [census] accuracy.” Id. at 28; accord Utah v. Evans, 536 U.S. 452, 478

 5   (2002). Nor would the Wisconsin standard effectively prohibit all demographic questions on the

 6   census or mean that the citizenship question is unconstitutional in every time period. See ECF

 7   No. 75 at 28. What matters is that, in the specific context and political climate of the 2020

 8   Census, the citizenship question will, in fact, be “uniquely impactful” on the enumeration. Id.

 9         Defendants also argue that Plaintiffs cannot prove that the citizenship question would

10   impact the accuracy of the census because Defendants expect that the Bureau’s NRFU efforts will

11   correct the decline in the self-response “and result in a complete enumeration.” Defs.’ Mot.

12   Summ. J. 17-18. As explained above in relation to standing, all available evidence indicates

13   otherwise, and, at the very least, this argument merely raises a disputed fact for purposes of

14   summary judgment. And while Defendants argue that complete accuracy is not required by the

15   Constitution, they have not even attempted to meet their burden to defend the citizenship

16   question’s effect on apportionment. In fact, Plaintiffs’ experts will show that malapportionment

17   is likely. Decl. Fraga 3-4, 17-18, 21-28; see also Decl. Barreto ¶¶ 20, 110-140.

18   IV.   DEFENDANTS VIOLATED THE ADMINISTRATIVE PROCEDURE ACT AND ARE NOT
           ENTITLED TO SUMMARY JUDGMENT ON THAT CLAIM
19
           A.    Defendants Cannot Establish that Secretary Ross’s Decision Was Not
20               Arbitrary and Capricious
21         The Administrative Procedure Act “sets forth the procedures by which federal agencies are

22   accountable to the public and their actions subject to review by the courts.” Franklin v.

23   Massachusetts, 505 U.S. 788, 796 (1992). To ensure that agency actions are reasonable and

24   lawful, a court must conduct a “thorough, probing, in-depth review” of the agency’s reasoning

25   and a “searching and careful” inquiry into the factual underpinnings of the agency’s decision.

26   Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 415-16 (1971). After undertaking

27   that review, a court “shall” set aside agency action if it is “arbitrary, capricious, an abuse of

28   discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).
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 1         Agency action should be set aside as arbitrary and capricious if the agency (1) fails to

 2   disclose and explain the basis of its decision, (2) offers “an explanation for its decision that runs

 3   counter to the evidence before the agency, or is so implausible that it could not be ascribed to a

 4   difference in view or the product of agency expertise,” or (3) fails to “consider an important

 5   aspect of the problem.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S.

 6   29, 43 (1983); Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 168 (1962). Here,

 7   Defendants violated the APA on each of these grounds.

 8               1.    The Secretary Failed to Disclose a Plausible, Non-Pretextual Basis for
                       the Agency’s Decision
 9

10         The APA requires an agency decision-maker to “disclose the basis of its” decision.

11   Burlington Truck Lines, 371 U.S. at 168 (internal quotation marks omitted). In cases where the

12   purported rationale for agency action is pretextual, the action must be set aside without further

13   inquiry. See, e.g., N.E. Coal. on Nuclear Pollution v. Nuclear Regulatory Comm’n, 727 F.2d

14   1127, 1130-31 (D.C. Cir. 1984); Squaw Transit Co. v. United States, 574 F.2d 492, 496 (10th Cir.

15   1978); Pub. Citizen v. Heckler, 653 F. Supp. 1229, 1237 (D.D.C. 1986).

16         Although Defendants contend that the existence of a memorandum purporting to provide a

17   basis for the Secretary’s decision is sufficient to withstand arbitrary-and-capricious review, this

18   argument fails where, as here, the memorandum’s function is to “provide a pretext for the ulterior

19   motive” of the decision-maker. Woods Petroleum Corp. v. U.S. Dep’t of Interior, 18 F.3d 854,

20   859 (10th Cir. 1994) (invalidating agency decision as arbitrary and capricious where action was

21   pretext for ulterior motive). Because the record establishes that the stated basis for the

22   Secretary’s decision is pretextual, summary judgment is inappropriate.

23         The Secretary’s decisional memorandum claims that receiving the letter from Arthur Gary

24   prompted him to take a “hard look” at whether a citizenship question could be helpful to DOJ in

25   providing data for VRA enforcement purposes. But in the eight months before receiving DOJ’s

26   letter, the Secretary had considered the impact of including non-citizens in the census count on

27   congressional apportionment, deliberated about taking census-related action with Steve Bannon

28   and Kris Kobach, and placed pressure on his staff to deliver a citizenship question on the census.
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 1   AR 763–764, 2561, 3694, 3710, 4004; see D.C. Fed’n of Civic Ass’ns v. Volpe, 459 F.2d 1231,

 2   1237 (D.C. Cir. 1971) (Bazelon, J.) (overturning an agency decision where “impartial evaluation

 3   of the project envisioned by the statute was impermissibly distorted by extraneous pressures”).

 4         Indeed, uncontroverted facts demonstrate that the Secretary involved DOJ only after it

 5   became apparent that his actual rationale for adding a citizenship question—to serve political

 6   interests—would not withstand scrutiny. AR 12476. DOJ not only did not originate the request,

 7   AR 1321, but rejected the Secretary’s bid that it do so. AR 2458. Defendants even pursued DHS

 8   as a potential sponsoring agency, even though DHS does not enforce Section 2 of the VRA. Id.

 9   DOJ only reconsidered after Secretary Ross personally lobbied the Attorney General. AR 2636,

10   2653, 4004. The Secretary then collaborated with DOJ to develop a letter giving the false

11   impression that DOJ initiated the request independently, AR 12756—even though just one year

12   earlier, DOJ had determined that it had no such need—and worked with staff to curate a

13   whitewashed administrative record to support this pretext. 7 AR 12476. These efforts to conceal

14   the Secretary’s prejudgment of the issue provide further proof of the arbitrary and capricious

15   nature of Defendants’ decision. Cf. Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133,

16   147 (2000) (“In appropriate circumstances, the trier of fact can reasonably infer from the falsity

17   of the explanation that the employer is dissembling to cover up a discriminatory purpose.”).

18         The rationale supplied by the Gary letter—to enhance DOJ’s enforcement of Section 2 of

19   the VRA by providing statistics of the citizen voting-age population (CVAP) at the census block

20   level—is similarly pretextual. DOJ has enforced the VRA since its enactment in 1965, even

21   though block-level citizenship data from the decennial census has never been available over this

22   period. Decl. Karlan 6. No Section 2 case has ever failed on account of an absence of survey-

23   based citizenship data, such as from a census questionnaire. Id. at 7-11; Decl. Handley 4

24   (“[C]urrently available census data, including [ACS data], has proven to be perfectly sufficient

25   to ascertain whether an electoral system or redistricting plan dilutes minority votes[.]”). While

26   the Gary letter concludes that the decennial census questionnaire is the “most appropriate vehicle

27          7
             The administrative record was compiled by Sahra Park-Su, who received no training in
     how to prepare an administrative record, and who simply “ke[pt] the record of all documents that
28   were handed to [her].” Park-Su Dep. 127:21-24; 188:20-25; 190:23-191:4.
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 1   for collecting” block-level citizenship data, the letter offers no explanation about why the

 2   questionnaire itself would be superior to other methods of data collection, such as the use of

 3   administrative records. AR 663-665; California v. Bureau of Land Mgmt., 286 F. Supp. 3d

 4   1054, 1065 (N.D. Cal. 2018) (suspension of agency rule was arbitrary and capricious where

 5   record evidence cited in support of agency’s stated concern “provides no citation or factual basis

 6   for that claim”). Tellingly, the administrative record contains no evidence that shows that DOJ

 7   needs block-level CVAP data. When internal Bureau experts questioned DOJ’s request and

 8   sought clarifying information, DOJ declined to engage with the Bureau about workable

 9   alternatives, and instead claimed that the Gary letter “fully describes their request.” AR 3460.

10         Defendants contend that the Secretary “reasonably accepted DOJ’s determination” that the

11   decennial questionnaire is the most appropriate means to obtain block-level citizenship data.

12   Defs.’ Mot. for Summ. J. 21; Comstock Dep. 176:5-9 (“[DOJ] were the people that needed it for

13   ACS, and our understanding was . . . you’d need to put it on the decennial census to do that.”).

14   The APA, however, “does not permit such a dodge.” Del. Dep’t of Nat. Res. & Envtl. Control,

15   785 F.3d 1, 16 (D.C. Cir. 2015) (reversing challenged rulemaking in which “EPA seeks to

16   excuse its inadequate responses by passing the entire issue off onto a different agency”). Gore

17   himself admitted that it is unnecessary to use the decennial questionnaire to obtain the requested

18   data, and he admitted not knowing whether census-based citizenship data would have greater

19   accuracy or smaller error margins than the existing citizenship data on which DOJ currently

20   relies. Gore Dep. 226:1-228:20; 422:11-17.

21         Defendants also assert that whether the Secretary’s decision was pretextual is of no

22   moment because the reviewing court must limit its consideration to the agency’s stated rationale,

23   irrespective of any policy preferences or additional reasons the decision-maker may have had.

24   Defs’ Mot. for Summ. J. 23–24. But the clear requirement that the agency “disclose the basis”

25   of its decision establishes otherwise. Burlington Truck Lines, 371 U.S. at 168. Permitting an

26   agency to paper the record so as to conceal the actual basis for its decision would render this

27   requirement meaningless. FTC v. Sperry & Hutchinson Co., 405 U.S. 233, 248-49 (1972).

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 1         Because Defendants have not established and cannot establish that they disclosed a

 2   plausible, non-pretextual basis for the Secretary’s decision, summary adjudication of the APA

 3   claim would be inappropriate.

 4               2.    The Secretary’s Decision Runs Counter to Evidence Before the
                       Agency
 5

 6         Agency action is arbitrary and capricious if the agency offers “an explanation for its

 7   decision that runs counter to the evidence before the agency….” State Farm, 463 U.S. at 43; see

 8   also, e.g., City of Kansas City, Mo. v. Dep’t of Hous. & Urban Dev., 923 F.2d 188, 194 (D.C. Cir.

 9   1991) (“Agency action based on a factual premise that is flatly contradicted by the agency’s own

10   record does not constitute reasoned administrative decision-making and cannot survive review

11   under the arbitrary and capricious standard.”). Defendants’ decision should also be set aside

12   because it runs counter to substantial evidence before the agency in two critical respects.

13         First, the decision is contrary to the evidence that a citizenship question will depress census

14   response rates. Secretary Ross’s decisional memorandum indicated that the impact of the

15   question on the response rate was an “important consideration” in his decision-making. AR 1317.

16   But he dismissed this concern as unsupported, claiming that “neither the Census Bureau nor the

17   concerned stakeholders could document that the response rate would in fact decline materially.”

18   AR 1315. In fact, the Bureau had done just that. In his January 19, 2018 memorandum to Ross,

19   Dr. Abowd compared the response rate between citizen and non-citizen households to the 2010

20   Census and 2010 ACS questionnaires in an effort to determine whether the ACS citizenship

21   question deterred responses. Abowd’s team calculated a net decline in self-responses to the ACS

22   by non-citizens in excess of five percent, and concluded that this would be a reasonable estimate

23   of the lower bounds of the decline in self-response rates that would occur if a citizenship question

24   is added to the 2020 Census questionnaire. AR 1280-1282.

25         Second, the decision is contrary to the evidence that asking a citizenship question in

26   conjunction with using administrative records (Alternative D) would yield less accurate

27   citizenship data than using administrative records alone (Alternative C). Accuracy was another

28   concern emphasized in the decisional memorandum. AR 1313, 1316, 1317. But the Bureau had
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 1   advised Ross in its March 1 memorandum that a “key difference” between Alternatives C and D

 2   was that “Alternative D would result in poorer quality citizenship data than Alternative C.”

 3   AR 1312, 1314. The Bureau had determined that, based on historical census and ACS data, non-

 4   citizens misreport themselves as citizens “for no less than 23.8% of the cases, and often more

 5   than 30%.” AR 1283, 1284, 1312. The self-reported citizenship data of non-citizens is thus

 6   largely inaccurate.

 7         Because Secretary Ross’s central assertions in the decisional memorandum about response

 8   rates and citizenship data accuracy are directly contradicted by evidence proffered by the

 9   Bureau’s own internal experts, those assertions cannot be accorded any weight. See McDonnell

10   Douglas Corp. v. U.S. Dep’t of the Air Force, 375 F.3d 1182, 1187 (D.C. Cir. 2004) (courts will

11   “not defer to the agency’s conclusory or unsupported suppositions”); see also, e.g., Islander E.

12   Pipeline Co., LLC v. Conn. Dep’t of Envtl. Prot., 482 F.3d 79, 99 (2d Cir. 2006) (reversing where

13   agency offered “no explanation for dismissing record evidence that runs counter to its findings”).

14   Accordingly, Defendants cannot establish that the decision to add a citizenship question was not

15   arbitrary and capricious for failure to account for the evidence before the agency.

16               3.      The Secretary Failed to Consider Important Aspects of Adding the
                         Citizenship Question to the 2020 Census
17

18         An agency’s decision is also arbitrary and capricious where it fails to consider an

19   “important aspect of the problem.” State Farm, 463 U.S. at 43. In that regard, an agency must

20   engage in a meaningful examination of the potential costs of a decision along with the potential

21   benefits. Friends of Santa Clara River v. U.S. Army Corps of Eng’rs, 887 F.3d 906, 923 (9th Cir.

22   2018); California v. U.S. Bureau of Land Mgmt., 277 F. Supp. 3d 1106, 1122 (N.D. Cal. 2017).

23   Thus, an agency acts arbitrarily and capriciously where it does not “adequately analyze the . . .

24   consequences” of its decision. Am. Wild Horse Pres. Campaign v. Perdue, 873 F.3d 914, 932

25   (D.C. Cir. 2017).

26         Defendants failed to meaningfully examine important aspects of adding the citizenship

27   question in at least two respects: (1) they did not analyze whether an undercount would remain

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 1   after follow-up enumeration efforts, and (2) they did not adequately pretest the question in

 2   accordance with well-established Bureau standards and policies.

 3                     a.    Defendants Never Considered Whether Follow-Up
                             Enumeration Efforts Would Prevent an Undercount
 4

 5         Before Secretary Ross issued the decisional memorandum, none of the Defendants

 6   examined whether the initial non-response resulting from the citizenship question would cause an

 7   undercount, even after follow-up enumeration efforts. Conducting such an analysis is not only

 8   “important,” see State Farm, 463 U.S. at 43, but fundamental to the census. Yet Defendants

 9   looked only at the effects of initial non-response on data accuracy and NRFU costs. See, e.g., AR

10   1278, 1317. The failure to consider this important issue renders the decision to add the question

11   arbitrary and capricious.

12                     b.    Defendants Disregarded the Fact that the Citizenship Question
                             Had Not Been Adequately Tested
13

14         The development of the 2020 Census is governed in part by the Paperwork Reduction Act

15   of 1995, which directs the Office of Management and Budget (OMB) to issue “[g]overnmentwide

16   policies, principles, standards, and guidelines” governing “statistical collection procedures and

17   methods” that agencies are required to follow. 44 U.S.C. §§ 3504(e)(3)(A), 3506(e); 5 C.F.R.

18   § 1320.18(c). Under Congress’s direction, the OMB has issued Statistical Policy Directives

19   defining the standards that agencies, including the Bureau, must follow in developing and

20   pretesting survey content. 8 The Bureau has also imposed rigorous standards by which data

21   collection instruments and supporting materials must be “pretested with respondents to identify

22   problems . . . and then be refined, prior to implementation.” Habermann Dep., Ex. 3 [U.S. Census

23   Bureau, Statistical Quality Standards], at i, ii, 8, 10 (reissued Jul. 2013); see also AR 3890, 4773,

24   9865; Decl. Habermann 12-15; Decl. O’Muircheartaigh 4-7. These standards and procedures are

25          8
               See Office of Mgmt. and Budget, Statistical Policy Directive No. 1, Fundamental
     Responsibilities of Fed. Statistical Agencies and Recognized Statistical Units, 79 Fed. Reg.
26   71,610, 71,615 (Dec. 2, 2014), available at https://www.bls.gov/bls/statistical-policy-directive-
     1.pdf; Office of Mgmt. and Budget, Statistical Policy Directive No. 2, Standards and Guidelines
27   for Statistical Surveys §§ 1.3, 1.4, 2.3 (2006), 71 Fed. Reg. 55,522 (Sept. 22, 2006), available at
     https://obamawhitehouse.archives.gov/sites/default/files/omb/inforeg/statpolicy/standards_stat_su
28   rveys.pdf.
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 1   mandatory: all Bureau employees “must comply” with them, and they “apply to all information

 2   products released by the Bureau and the activities that generate those products,” including the

 3   decennial census. Habermann Dep., Ex. 3, at ii, 2, 6.

 4         When new questions are added to an existing survey, pretesting “must be performed” to

 5   evaluate whether additions “cause potential context effects.” Habermann Dep., Ex. 3, at 8, 12-23.

 6   Pretesting not only concerns the wording or placement of a question on a questionnaire, but also

 7   tests for respondents’ cognitive perception of a question, response rates, and data quality and

 8   accuracy. Habermann Dep., Ex. 3, at 7-8; Decl. Habermann 12-13. It is vital that questions are

 9   tested for the particular questionnaire on which they will appear and under similar circumstances

10   that will govern the survey. O’Muircheartaigh Dep. 78-81. This is especially salient for

11   questions like the citizenship question that are deemed “sensitive” given the social and political

12   context in which they are to be administered. Habermann Dep. Ex. 3, at 8-9; O’Muircheartaigh

13   Dep. 81-82.

14         As Secretary Ross concedes in his decisional memorandum, the citizenship question has not

15   been pretested for placement on the 2020 Census; this failure violates the Bureau’s mandatory

16   standards and procedures. AR 1318-1319. Past and present Bureau officials—including six

17   former Bureau Directors—warned of the dangers of adding a question without following those

18   pretesting procedures. AR 1057-1058, 10386DRB. Although the Secretary concluded that no

19   testing for the citizenship question was required for the 2020 Census because a similar question

20   already appears on the ACS, AR 1319, that conclusion ignores the vast contextual differences

21   between the ACS and the decennial census. For example, the 2020 Census questionnaire is much

22   shorter than the ACS; a single question like the citizenship question could have a much greater

23   impact on the questionnaire as whole. O’Muircheartaigh Dep. 71-73. The 2020 Census is also

24   conducted under far greater scrutiny and publicity than the ACS, which could heighten the

25   sensitivity of the citizenship question and impact response rates. Habermann Dep. 32-34;

26   O’Muircheartaigh Dep. 69-70. And the 2020 Census will be administered under a starkly

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 1   different social and political climate from when the ACS questions were tested. 9

 2   O’Muircheartaigh Dep. 68–71. According to Dr. Abowd, the best way to test the question’s

 3   effect on the census count and data collection would have been through a randomized controlled

 4   trial, yet no such test was performed before the Secretary issued his decisional memorandum.

 5   Abowd Decl. 4-5; Abowd Dep. (Aug. 15, 2018) 59-60, 83-84; Abowd Dep. (Aug. 29, 2018) 104-

 6   105; Abowd Dep. (Oct. 5, 2018) 426-430.

 7         Although pretesting may not be required for questions that “performed adequately in

 8   another survey,” Habermann Dep., Ex. 3, at 8, the Secretary did not demonstrate—and

 9   Defendants have not presented evidence—that the citizenship question “performed adequately”

10   on the ACS. To the contrary, the Bureau’s own analysis indicates that the question performs

11   poorly on that questionnaire, lowering response rates, and compromising data accuracy. AR

12   1284; O’Muircheartaigh Dep. 79–82. In light of those problems, the Bureau is presently

13   considering removing the citizenship question from the ACS. Abowd Dep. (Oct. 12, 2018) 178-

14   182. Thus, what pretesting data the Secretary may have had for the citizenship question on the

15   ACS, he set aside in favor of the unsupported conclusion that testing for the decennial census was

16   adequate.

17         These factors show that the decision to add the citizenship question without abiding by the

18   mandatory pretesting requirements was arbitrary and capricious. The decision evinces a failure to

19   consider an “important aspect of the problem”—that the question had not been adequately tested

20   for placement specifically on the 2020 Census in violation of the Bureau’s well-established

21   mandatory standards and procedures. See State Farm, 463 U.S. at 43. It is also an “irrational

22   departure” from agency policy and procedure “that must be overturned as ‘arbitrary, capricious,

23   [or] an abuse of discretion[.]’” I.N.S. v. Yueh-Shaio Yang, 519 U.S. 26, 32 (1996) (quoting 5

24   U.S.C. § 706(2)(A)). The well-established, mandatory pretesting policies and procedures—which

25   the Secretary failed to meaningfully consider—constitute “regulations, established agency

26          9
               In fact, a national study commission by the Census Bureau concluded that the presence
     of the citizenship question could be a “major barrier” to participation in the 2020 Census due in
27   part to those factors. 2020 Census Barriers, Attitudes, and Motivators Study (CBAMS) Survey and
     Focus Groups: Key Findings for Creative Strategy (Oct. 31, 2018), available at
28   https://www2.census.gov/cac/nac/meetings/2018-11/mcgeeney-evans-cbams.pdf.
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 1   policies, or judicial decisions,” that inform the Court of meaningful standards by which it may

 2   review the Secretary’s decision. Mendez-Gutierrez v. Ashcroft, 340 F.3d 865, 868 (9th Cir.

 3   2003); see also Salazar v. King, 822 F.3d 61, 76 (2d Cir. 2016) (“To determine whether there is

 4   ‘law to apply’ that provides ‘judicially manageable standards’ for judging an agency’s exercise of

 5   discretion, the courts look to the statutory text, the agency’s regulations, and informal agency

 6   guidance that govern the agency’s challenged action.”). Even though the Census Act authorizes

 7   the Secretary to conduct the census “in such a form and content as he may determine,” 13 U.S.C.

 8   § 141(a), that authorization is not unlimited, and agency decisions are subject to judicial review.

 9   See Pinnacle Armor, Inc. v. United States, 648 F.3d 708, 720 (9th Cir. 2011); Spencer Enters.,

10   Inc. v. United States, 345 F.3d 683, 688 (9th Cir. 2003).

11         For these reasons, Defendants’ failed to consider an important aspect of the citizenship

12   question—that it had not been adequately tested for placement on the 2020 Census questionnaire.

13         B.    Defendants Cannot Establish that Secretary Ross’s Decision Was Not
                 Contrary to Law
14
                 1.    The Decision Violated the Census Act’s Reporting Requirement, 13
15                     U.S.C. § 141(f)
16         Courts must set aside agency actions and decisions that are made “in excess of statutory

17   jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2)(C). The

18   Census Act sets forth an unambiguous process for selecting and amending questions to the

19   decennial census. 13 U.S.C. § 141(f). The Act requires the Secretary to, at least three years

20   before “the appropriate census date,” submit a report to Congress identifying the “subjects

21   proposed to be included, and the types of information to be compiled” in that census. Id.

22   § 141(f)(1). If the Secretary wants to amend or add to the proposed “subjects [or] types of

23   information,” he must submit a new report to Congress explaining that “new circumstances exist

24   which necessitate” modifications. Id. § 141(f)(3) (emphasis added).

25         The process by which the citizenship question was added to the 2020 Census violated

26   section 141(f)(3). In March of 2017, the Secretary submitted a report listing the subjects planned

27   for the 2020 Census; citizenship or immigration status was not on that list. AR 194-270;

28   Langdon Dep. 121-23. The Secretary did not, however, submit another report explaining what
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 1   “new circumstances” arose since March 2017 that necessitated the addition of a citizenship

 2   question. The Secretary’s decisional memorandum contends that collecting citizenship data

 3   would assist in VRA enforcement, but it does not explain how data gathered specifically via the

 4   decennial census is necessary for that goal. AR 1313-1314. Nor does the memorandum explain

 5   what circumstances changed since March 2017 that suddenly require the use of census-gathered

 6   citizenship data for VRA enforcement. Id. Even DOJ did not consider citizenship data collected

 7   through the decennial census questionnaire to be “necessary” for VRA enforcement, only that it

 8   would be of assistance. Gore Dep. 298-300 & Ex. 25.

 9         Defendants do not dispute that the Secretary failed to submit the report required under 13

10   U.S.C. § 141(f)(3) to modify the list of census topics. They do not identify what “new

11   circumstances” had arisen or argue that data gathered via the decennial census is necessary for

12   VRA enforcement. Defendants instead contend that the Secretary’s addition of the citizenship

13   question without submitting the report required under section 141(f)(3) is not subject to judicial

14   review. Defs.’ Mot. Summ. J. 24–25 (citing 5 U.S.C. § 551). That argument, however, ignores

15   the APA’s requirement for courts to set aside an agency decision—like the decision to add the

16   citizenship question—made in a manner that exceeds statutory authority. 5 U.S.C. § 706(2)(C);

17   see also District of Columbia v. U.S. Dep’t of Commerce, 789 F. Supp. 1179, 1188 n.16 (D.D.C.

18   1992) (“[A]lmost every court that has considered the issue has held that 13 U.S.C. § 141 does not

19   preclude judicial review.”). By violating the unambiguous process set forth in section 141(f), the

20   Secretary’s decision to add the citizenship question was unlawful under the APA. 10

21               2.    The Decision Violated the Census Act’s Requirement of Using
                       Administrative Records Where Appropriate, 13 U.S.C. § 6(c)
22

23         The Secretary’s decision to add a citizenship question to the 2020 Census also violates the

24   APA by exceeding statutory authority and limitations under section 6, subdivision (c) of the

25
            10
               Contrary to what Defendants suggest, Plaintiffs do not assert a separate cause of action
26   under the Information Quality Act. See Defs.’ Mot. Summ. J. 24-25.) Rather, the addition of the
     citizenship question, without abiding by the mandatory agency standards and procedures,
27   demonstrates the arbitrary and capricious nature of the decision, in violation of the APA. See
     Section IV.A.3.b, supra; see also Lowry v. Barnhart, 329 F.3d 1019, 1022 (9th Cir. 2003) (“An
28   agency’s regulations may create judicially enforceable duties.”).
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 1   Census Act. That statute requires the Secretary of Commerce to perform census-related duties by

 2   using information from other government agencies “instead of conducting direct inquiries.”

 3   13 U.S.C. 6(c). The Secretary “shall” adhere to these terms “[t]o the maximum extent possible

 4   and consistent with the kind, timeliness, quality and scope of the statistics required.” Id.

 5   (emphasis added). Subdivision (c) of section 6 serves “the dual interests of economizing and

 6   reducing respondent burden.” H.R. CONF. REP. No. 94-1719, at 10 (1976), reprinted in 1976

 7   U.S.C.C.A.N. 5476, 5478.

 8         Given the Bureau’s analysis of Alternatives A through D, section 6 required Secretary Ross

 9   to address DOJ’s request for citizenship data using administrative records alone (Alternative C).

10   As discussed above, using administrative records alone is both less costly and more accurate than

11   using them in conjunction with a citizenship question on the census. See e.g. AR 1277, 1312.

12   Alternative C also poses less of a burden on census respondents. AR 1281. By selecting

13   Alternative D over Alternative C, Secretary Ross exceeded section 6’s statutory limitation on his

14   authority, thereby violating the APA.

15                                              CONCLUSION
16         Based on the foregoing, Plaintiffs respectfully request that this Court deny Defendants’

17   motion for summary judgment.

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